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Case : 2021CC002168000000
Case Type : DMGC - DAMAGES (CC)
Section : M0 SUSAN L BARBER
Case Style : GARCIA, HECTOR vs. DYNAMIC RECOVERY SOLUTIONS LLC
Disposition : Open
                                                                                                                 Print Case
                                                                                                                 Summary




   Dockets        Parties          Hearings           Financial      Disposition


                Available for viewing                                     Not available for viewing

                Available for viewing after manual review                 Manual review pending or completed

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       Date                                                 Action                                    Pages Sequence View
   05/07/2021       CIVIL COVER SHEET                                                                   3         1

   05/07/2021       COMPLAINT                                                                          10         2

   05/07/2021       PLAINTIFFS NOTICE OF SERVING INTERROGATORIES                                        6         3

   05/07/2021       PLAINTIFFS FIRST SET OF REQUEST FOR PRODUCTION OF                                   5         4
                    DOCUMENTS
   05/10/2021       SUMMONS ISSUED BY CLERK/ DYNAMIC RECOVERY SOLUTIONS                                 2         5
                    LLC
   05/26/2021       WAIVER OF SERVICE OF PROCESS DYNAMIC RECOVERY                                       1         6
                    SOLUTIONS LLC




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